Case 4:24-cv-01004-O       Document 48       Filed 04/24/25     Page 1 of 5     PageID 1492



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS



 HUMANA INC. and AMERICANS FOR
 BENEFICIARY CHOICE,

        Plaintiffs,

 v.                                                 Case No. 24-cv-01004-O
 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,
        Defendants.



                PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO FILE
                      NOTICE OF SUPPLEMENTAL AUTHORITY
              AND SUGGESTION OF MOOTNESS OF EXHAUSTION DEFENSE



       Pursuant to Local Rule 56.7, plaintiffs respectfully move for leave to notify the

Court that the CMS Administrator issued an order on April 23, 2025, declining review in

Humana’s Quality Bonus Payment (QBP) appeal.

       In the attached order, the Administrator declines to review the April 14 decision of

the CMS hearing officer, which affirmed the denial of Humana’s request for reconsidera-

tion of the 2026 QBP determinations. Neither the Administrator’s order nor the April 14

hearing officer’s decision includes relevant substantive analysis, except to confirm that the

administrative QBP appeal process “is limited to possible calculation errors or inaccuracies

in the data utilized for determining star ratings” and “is not the proper venue for contesting

the methodology or the set of measures included in calculating the star ratings.” See Dkt.

46-1, at 2.




                                              1
Case 4:24-cv-01004-O      Document 48      Filed 04/24/25     Page 2 of 5    PageID 1493



       Plaintiffs maintain that CMS’s exhaustion defense is wrong on its merits. See Pls.

MSJ Opp. 4-12 (Dkt. 41). But the Court can now avoid the issue, because there is no ques-

tion that CMS’s exhaustion defense is moot as of yesterday.

       As previously explained, Humana satisfied any jurisdictional presentment require-

ment by raising its challenge with CMS during the plan preview period, and again in seeking

reconsideration of its QBP status. See Pls. MSJ Br. 16-19 (Dkt. 35); Pls. MSJ Opp. 9 n.1.

CMS has conceded this point. See Def. MSJ Br. 19. Accordingly, CMS’s exhaustion defense

has only ever concerned the non-jurisdictional requirement to obtain a final decision,

assuming Section 405 applies at all. Now that Humana has obtained a “final and binding”

decision rejecting its QBP appeal (42 C.F.R. §422.260(c)(2)(vii)), which involved no new

record evidence, CMS’s non-jurisdictional exhaustion defense is no longer sustainable. It

is, in a word, moot.

       Nor is a new complaint or new administrative record necessary. This lawsuit does

not challenge Humana’s QBP status as such. Rather, it challenges the October 2024 final

determination of Humana’s 2025 Star Ratings (Am. Compl. ¶¶ 109-111), which is a final,

reviewable agency action in its own right (see Pls. MSJ Opp. 10-11; 5 U.S.C. §704). And an

agreed administrative record is already before the Court.




                                            2
Case 4:24-cv-01004-O     Document 48     Filed 04/24/25     Page 3 of 5   PageID 1494



 Dated: April 24, 2025                 Respectfully submitted,

                                       /s/ Michael B. Kimberly
                                       Michael B. Kimberly* (D.C. No. 991549)
                                       Kate McDonald* (D.C. No. 998233)
                                       Caleb H. Yong* (D.C. No. 1780922)
                                         McDermott Will & Emery LLP
                                         500 North Capitol Street NW
                                         Washington, D.C. 20001
                                         (202) 756-8901
                                         mkimberly@mwe.com
                                         kmcdonald@mwe.com
                                         cyong@mwe.com

                                       Richard Salgado (Texas No. 24060548)
                                          McDermott Will & Emery LLP
                                          2501 North Harwood Street,
                                          Suite 1900
                                          Dallas, TX 75201-1664
                                          (214) 210-2797
                                          richard.salgado@mwe.com

                                       * pro hac vice
                                       Counsel for Plaintiffs




                                          3
Case 4:24-cv-01004-O      Document 48     Filed 04/24/25     Page 4 of 5   PageID 1495



                          CERTIFICATE OF CONFERENCE

      Undersigned counsel certifies that, on April 24, 2025, he conferred by email with

Andrea Hyatt, who is counsel for defendants, regarding plaintiffs’ intention to file this

motion. Defendants conveyed the following position:

      Without the benefit of the opportunity to review Plaintiffs’ motion for leave
      and proposed notice in advance, and based on opposing counsel’s assurance
      that the motion and notice will comply, by analogy, with Federal Rule of
      Appellate Procedure 28(j) governing citation of supplemental authorities
      (including the 350 word limit), Defendants do not oppose Plaintiffs’ motion
      for leave.

                                               /s/ Michael B. Kimberly



                             CERTIFICATE OF SERVICE

      Undersigned counsel certifies that a true and correct copy of this document was

served via CM/ECF on all counsel of record on April 24, 2025.

                                               /s/ Michael B. Kimberly




                                           4
Case 4:24-cv-01004-O       Document 48          Filed 04/24/25   Page 5 of 5    PageID 1496
DEPARTMENT OF HEALTH & HUMAN SERVICES
Centers for Medicare & Medicaid Services
7500 Security Boulevard, Mail Stop C3-01-20
Baltimore, Maryland 21244-1850
Telephone 410-786-3176

Office of the Attorney Advisor

                                        April 23, 2025

VIA EMAIL ONLY


Ms. Jane Suscott
Humana
Vice President, Assoc. Gen. Humana, Inc.
jsusott@humana.com


Re: Humana for Contracts H0028, H0292, H0473, H0783, H1036, H1468, H1951, H2463,
    H2486, H3533, H4141, H4461, H4623, H5178, H5216, H5377, H5525, H5619, H5970,
    H6622, H7284, H8145, H8908, R0110, R1532, R4182, R5361, R5826, R7220


Dear Ms. Suscott:

This is to advise that the Administrator of the Centers for Medicare & Medicaid Services (CMS)

has declined to review the CMS Hearing Officer decision.


                                              Sincerely yours,



                                              Jacqueline R. Vaughn
                                              Attorney Advisor


Enclosure

cc:    kmcdonald@mwe.com
      Cyong@mwe.com
      QBPAPPEALS@cms.hhs.gov
      Tiffany Swygert, Tiffany.Swygert@cms.hhs.gov
